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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
HENRY G. HOBBS, JR.
ACTING UNITED STATES TRUSTEE
REGION 7, SOUTHERN and WESTERN DISTRICTS OF TEXAS
HECTOR DURAN
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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                      §       CASE NO.
                                            §
BENDCO, INC.                                §       18-30849 (DRG)
                                            §       (Chapter 11)
       DEBTOR                               §

                   REPORT OF THE UNITED STATES TRUSTEE OF
                INABILITY TO APPOINT A CREDITORS' COMMITTEE

TO THE HONORABLE DAVID R. JONES
UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW Henry G. Hobbs, Jr., the Acting United States Trustee for Region 7, by
and through the undersigned counsel, who respectfully represents as follows:

1.    The Debtor filed a voluntary petition seeking relief under chapter 11 of the Bankruptcy
Code.

2.     The Acting United States Trustee is responsible for appointing a committee of creditors
holding unsecured claims pursuant to 11 U.S.C. § 1102(a)(1).

3.     The Acting United States Trustee has attempted to solicit creditors interested in serving
on a creditors' committee from the list of creditors holding the twenty largest unsecured claims.
After excluding governmental units, secured creditors and insiders, the Acting United States
Trustee has been unable to solicit sufficient interest to form a creditors’ committee.

4.    The first meeting of creditors was held after notice to all creditors. An insufficient
number of unsecured creditors appeared at said meeting to form a creditors' committee.

      THEREFORE, the Acting United States Trustee has been unable to appoint a creditors'
committee as contemplated by 11 U.S.C. § 1102.
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Dated: April 3, 2018                Respectfully Submitted,

                                            HENRY G. HOBBS, JR.
                                            ACTING UNITED STATES TRUSTEE
                                            REGION 7, SOUTHERN and WESTERN
                                            DISTRICTS OF TEXAS

                                            By:    /s/ Hector Duran
                                                   Hector Duran
                                                   Texas Bar No. 00783996/Fed. ID No. 15243
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on all PACER
System participants by United States Mail, first class, postage prepaid, or by ECF transmission,
on the 3rd day of April, 2018.

                                            /s/ Hector Duran
                                            Hector Duran




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